      Case 1:17-cv-01323-MN Document 13 Filed 09/26/17 Page 1 of 2 PageID #: 119




                                 IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELA\ilARE

       CONSUMER FINANCIAL PROTECTION
       BUREAU

                            Plaintiff,

                  V                                        C.A. No. 17-1323 (GMS)

       THE NATIONAL COLLEGIATE MASTER
       STUDENT LOAN TRUST, et al.,

                            Defendants.


                      DECLARATION OF REBECCA L. BUTCHER IN SUPPORT OF
                        GSS DATA SERVICES.INC. ,S MOTION TO INTERVENE

            I, Rebecca L, Butcher, declare and state as follows:

             1.        I am a partner at the law firm of Landis Rath & Cobb LLP, counsel to GSS Data

Services, Inc. ("GSS" of the "Administrator") in the above-captioned matter.

            2.         I submit this affirmation in support of the Administrator's Motion to Intervene. I

make this affirmation based upon my personal knowledge and, where appropriate, a review                of

the relevant case files. The facts set forth herein are true and corect to the best of my knowledge

and belief.

             3.        Attached hereto as Exhibit   A is a true   and correct copy the Trust Agreement

among Wilmington Trust Company, as Owner Trustee, and The National Collegiate Funding

LLC and The Education Resources Institute, Inc.          as Owners, dated as   of December 7,2006.

            4.         Attached hereto as Exhibit    B is a true   and correct copy the Administration

Agreement among The National Collegiate Student Loan Trust 2006-4, Wilmington Trust

Company, as Owner Trustee, U.S. Bank National Association, as Indenture Trustee, The

National Collegiate Funding LLC and First Marblehead Data Services, Inc., dated as of



{   l 1 10.003-w0048796.}
   Case 1:17-cv-01323-MN Document 13 Filed 09/26/17 Page 2 of 2 PageID #: 120




December 7,2006.

         5.       Attached hereto as Exhibit C is a true and correct copy         of Wilmington Trust

Company's Answering Brief in Opposition to the Purported Owners' Motion for Extension of

Deadline for Appointment of Successor Owner-Trustee and For Other Relief Consistent with the

Trust Agreement, filed on September 19,2017, in the pending action styled as The National

Collegiate Student Loan Master Trust, et al., v. Pennsylvania Higher Education Assistønce

Agency d/b/a American Educational Services (C.A.No. 12111-VCS, Del. Ch.) (the "Court of

Chancery Action").

         6.        Attached hereto as Exhibit D is Memorandum of Law in Support of Plaintiffs'

Motion for Emergency Relief, filed on September 22,2017 in the Court of Chancery Action (the

"Emergency Motion").

         7.        Attached hereto as Exhibit E is the Motion for Leave to File Opposition as Amicus

Curiae, filed by GSS on September 25,2017 in the Court of Chancery Action.

         8.        On September 25,2017, the Court of Chancery held a hearing and denied the

Emergency Motion.

         9.        I declare under penalty of perjury that the above is true and correct.

Dated: September 26, 2017
       V/ilmington, Delaware


                                                          Rebecca L. B utcher, Esq




{1r10.003-w0048796.}
